                 Case 2:16-bk-17463-ER  Doc 550
                               UNITED STATES      Filed 11/28/16
                                               DEPARTMENT          Entered 11/28/16 12:16:27
                                                              OF JUSTICE                                                                                 Desc
                                          Main Document     Page  1
                                OFFICE OF THE UNITED STATES TRUSTEE of 31
                                  CENTRAL DISTRICT OF CALIFORNIA
 In Re:                                                                               CHAPTER 11 (BUSINESS)
    GARDENS REGIONAL HOSPITAL AND
    MEDICAL CENGER, INC., dba GARDENS                                                 Case Number:                                  2:16-bk-17463 -ER
    REGIONAL HOSPITAL AND MEDICAL                                                     Operating Report Number:                              5
    CENTER                      Debtor(s).                                            For the Month Ending:                             31-Oct-16

                                              I. CASH RECEIPTS AND DISBURSEMENTS
                                                     A. (GENERAL ACCOUNT*)

 1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS

 2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL
 ACCOUNT REPORTS

 3. BEGINNING BALANCE:                                                                                                                        1,080,389.13

 4. RECEIPTS DURING CURRENT PERIOD:
    Accounts Receivable - Post-filing                                                                     1,197,915.00
    Accounts Receivable - Pre-filing                                                                            194,196.00
    General Sales
    Other (Specify)       Bi-weekly cost report 1 pay                                                         23,684.00
    **Other (Specify)     DIP loan                                                                           650,000.00                       2,065,795.00

     TOTAL RECEIPTS THIS PERIOD:                                                                                                              2,065,795.00

5. BALANCE:                                                                                                                                   3,146,184.13

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2)         0.00
   Disbursements (from page 2)                   2,115,013.00

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                      2,115,013.00

7. ENDING BALANCE:                                                                                                                            1,031,171.13

8. General Account Number(s):
                                                                                                         32500545130                       325000545169
     Depository Name & Location:                                                                         32500545143                        000594714482
          Bank of America                                                                                32500045156
     11262 Los Alamitos Ave, Los Alamitos
     California
   All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
     to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.




                                                                                 Page 1 of 16
                 Case 2:16-bk-17463-ER
                           TOTAL DISBURSEMENTSDoc  550 ACCOUNT
                                              FROM GENERAL Filed 11/28/16       Entered 11/28/16 12:16:27
                                                                  FOR CURRENT PERIOD                                          Desc
    Date
                                                Main Document          Page 2*Amount
                                                                                 of 31 **Amount
inin/ddiyyyy   Check Number            Payee or DIP account                Purpose    Transfered   Disbursed   Amount

  9/27/2016       104811       ABBOTT LABORATORIES              MEDICAL SUPPLIES                                   6,987,64
  9/27/2016       104829       TIME WARNER CABLE                UTILITY                                            1,446.00
  9/27/2016       104815       CAREFUSION SOLUTIONS, LLC        PURCHASED SERVICES                                 4,304.41
  9/29/2016       104840       THERESA SULLIVAN                 PURCHASED SERVICES                                   534.56
  9/30/2016       104841       BECKMAN COULTER                  MEDICAL SUPPLIES                                   4,378.06
  9/30/2016       104842       OLYMPUS                          MEDICAL SUPPLIES                                   1,435.75
  9/30/2016       104843       PHYSICIANS RECORD COMPANY        MEDICAL SUPPLIES                                     162.00
  9/30/2016       104844       PACIFIC MEDICAL IMAGING          PURCHASED SERVICES                                 1,125.00
  9/20/2016       104777       MEDICLEAN INC.                   PURCHASED SERVICES                                 8,218.30
  9/27/2016       104814       CARDIOIMAGE DYNAMICS LLC         PURCHASED SERVICES                                 3,775.00
  9/27/2016       104827       SUN LIFE FINANCIAL               BENEFITS                                          16,619.19
  9/27/2016       104831       UCI PATHOLOGY REFERRAL SVCS      PURCHASED SERVICES                                15,571.84
  9/27/2016       104833       UNITED HEALTHCARE OF CA          BENEFITS                                       103,938.86
  9/20/2016       104787       WELLS FARGO BANK, N.A.           RENTAL EXP                                         5,771.55
  10/4/2016      104845        COOK MEDICAL INCORPORATED        MEDICAL SUPPLIES                                    787.50
  10/4/2016      104846        MERRY X-RAY                      MEDICAL SUPPLIES                                    656.02
  10/4/2016      104847        PRECISION DYNAMICS CORP (PDC)    MEDICAL SUPPLIES                                    328.76
  10/4/2016      104848        SOUTHLAND MEDICAL DIALYSIS INC   PURCHASED SERVICES                                1,750.00
  10/4/2016      104849        ADMINISTRATIVE SERVICE CO-OP     PURCHASED SERVICES                                  286.90
  10/4/2016      104850        ADP, LLC                         PURCHASED SERVICES                                    36.55
  10/4/2016      104851        ADVANCE CLINICAL LABORATORIES    PURCHASED SERVICES                              12,626.79
 10/4/2016       104852        AIR LIQUIDE HEALTHCARE AMERICA   MEDICAL SUPPLIES                                    588.85
 10/4/2016       104854        AMERICAN MEDICAL ASSOCIATION     OTHER DIRECT EXP                                    250.00
 10/4/2016       104855        AMERICAN RED CROSS BLOOD SERV    MEDICAL SUPPLIES                                  6,098.00
 10/4/2016       104856        CAREFUSION SOLUTIONS, LLC                                                          4,295.69
 10/4/2016       104856        CAREFUSION SOLUTIONS, LLC                                                         (4,295.69)
 10/4/2016       104857        CERRITOS GARDENS GEN HOSP. CO     RENTAL EXP                                       6,347.86
 10/4/2016       104858        FEDEX                             PURCHASED SERVICES                                 721.37
 10/4/2016       104859        FIRST QUALITY MEDICAL             PURCHASED SERVICES                             38,087.50
 10/4/2016       104860        FUJIFILM MEDICAL SYSTEM U.S.A.    MEDICAL SUPPLIES                                 9,728.25
 10/4/2016       104861        JB DEVELOPERS, INC.               PURCHASED SERVICES                                 834.00
 10/4/2016       104862        KAUFFMAN INDUSTRIAL REVIEW        PURCHASED SERVICES                                 500.00
 10/4/2016       104863        LANGUAGE LINE SOLUTIONS           PURCHASED SERVICES                                 420.03
 10/4/2016       104864        THE LAW OFFICE OF JASON L.        PROFESSIONAL FEES                                6,238.80
 10/4/2016       104865        MATHESON TRI-GAS, INC.            UILITIES                                         1,113.14
 10/4/2016       104866        PACIFIC INDUSTRIAL WATER SYS.     RENTAL EXP                                         149.25
 10/4/2016       104867        PAPER RECYCLING & SHREDDING       PURCHASED SERVICES                                   80.00
 10/4/2016       104868        PHILIPS HEALTHCARE                MEDICAL SUPPLIES                                     73.10
 10/4/2016       104869        PHILIPS HEALTHCARE               MEDICAL SUPPLIES                                    731.00
 10/4/2016       104870        PHILIPS HEALTHCARE               MEDICAL SUPPLIES                                    731.00
 10/4/2016       104871        PHILIPS HEALTHCARE               MEDICAL SUPPLIES                                    511.70
 10/4/2016       104872        PHILIPS HEALTHCARE               MEDICAL SUPPLIES                                    731.00
 10/4/2016       104873        SIEMENS MEDICAL SOLUTIONS        MEDICAL SUPPLIES                                    621.58
 10/4/2016      104874         SO-CAL NEUROLOGICAL DIAGNOSTIC    PURCHASED SERVICES                                 150.00
 10/4/2016       104875        SOUTHERN CALIFORNIA EDISON        UILITIES                                      32,002.97
 10/4/2016      104877         SPARKLETTS                        UILITIES                                            43.54
 10/4/2016      104878         REVA SWADENER                    OTHER DIRECT EXP                                  2,874.94
 10/4/2016      104879         THE IRVING I. MOSKOWITZ           RENTAL EXP                                       3,148.53
 10/4/2016      104880         UNIVERSAL HOSPITAL SERVICE INC    RENTAL EXP                                         898.72
 10/4/2016      104881         DAIRY KING MILK FARMS            MEDICAL SUPPLIES                                    674.00
 10/4/2016      104882         PACIFIC MEDICAL IMAGING, INC     PURCHASED SERVICES                               1,335.00
 10/4/2016      104883         CAREFUSION SOLUTIONS, LLC         RENTAL EXP                                      3,436.56
 10/5/2016      104884         PROACTIVE MEDICAL STAFFING INC   CONTRACT LABOR                                   4,125.00
 10/5/2016      104884         PROACTIVE MEDICAL STAFFING INC   CONTRACT LABOR                                  (4,125.00)
 10/5/2016      104885        SOUTHLAND MEDICAL DIALYSIS INC    PURCHASED SERVICES                               3,100.00
 10/5/2016      104886         BUTLER CHEMICALS, INC.           MEDICAL SUPPLIES                                    636.03
 10/5/2016      104887         PACIFIC MEDICAL IMAGING, INC     PURCHASED SERVICES                               1,600.00
 10/5/2016      104888         PACIFIC MEDICAL IMAGING, INC     PURCHASED SERVICES                               1,344.00
 10/6/2016      104889        ABBOTT LABORATORIES               MEDICAL SUPPLIES                               12,056.25
 10/6/2016      104890        ACCENT CARD SERVICES, INC.        MEDICAL SUPPLIES                                    349.59
 10/6/2016      104891        C.R.BARD INC.                     MEDICAL SUPPLIES                                 1,472.59
 10/6/2016      104892        BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                                 2,533.44
 10/6/2016      104892        BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                                (2,533.44)
 10/6/2016      104893         LEADER OFFICE SOLUTIONS          MEDICAL SUPPLIES                                 1,454.99
 10/6/2016      104894        OFFICE DEPOT                      MEDICAL SUPPLIES                                   339.97
 10/6/2016      104895        BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                                 2,698.12
 10/6/2016      104896        PACIFIC MEDICAL IMAGING, INC      PURCHASED SERVICES                               1,610.00
 10/7/2016      104897        BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                                 3,932.76
 10/7/2016      104899        PROACTIVE MEDICAL STAFFING INC    CONTRACT LABOR                                   4,125.00
 10/7/2016      104900        CONMED CORPORATION                MEDICAL SUPPLIES                                 1,647.00
10/10/2016      104901        SIEMENS HEALTHCARE DIAGNOSTICS    MEDICAL SUPPLIES                                 1,386.15
10/10/2016      104902        BIEL CONSULTING, INC.             PROFESSIONAL FEES                                4,500.00
10/10/2016      104903        JSE EMERGENCY MED. GRP.,INC.      PRFESSIONAL FEES                               59,875.20
10/11/2016      104904        PACIFIC MEDICAL IMAGING, INC      PURCHASED SERVICES                               1,610.00
10/11/2016      104905        SOUTHLAND MEDICAL DIALYSIS INC    PURCHASED SERVICES                                 350.00
10/11/2016      104906        CLIA LABORATORY PROGRAM           LICENSES                                         2,223.00
10/11/2016      104907        DIRECTV                           UILITIES                                           307.99
10/11/2016      104908        EXTRA SPACE STORAGE OF            RENTAL EXP                                         805.00
10/11/2016      104909        GOLDEN STATE WATER COMPANY        UILITIES                                             34.40
10/11/2016      104910        INSIGHT INVESTIGATIONS, INC.      PURCHASELMRVI0ES6                                  722.00
10/11/2016      104911        JB DEVELOPERS, INC.               PURCHASED SERVICES                                 417.00
10/11/2016      104912        KING MEDICAL SUPPLY, INC.         RENTAL EXP                                      1,045.00
 10/11/2016   Case
              104913 2:16-bk-17463-ER
                      PITNEY BOWES, INC.        Doc 550
                                                     MEDICALFiled   11/28/16 Entered 11/28/16 12:16:27
                                                              SUPPLIES                            272.57
                                                                                                4,080.00
                                                                                                             Desc
 10/11/2016    104914                                CONTRACT LABOR
                         PROACTIVE MEDICAL STAFFING INC
 10/11/2016    104915    SOUTHERN CALIFORNIA GAS
                                                 MainUILITIES
                                                       Document         Page 3 of 31            1,932.30
 10/11/2016    104916    UNIVERSAL HOSPITAL SERVICE INC   RENTAL EXP                                929.24
 10/11/2016    104917    CLIA LABORATORY PROGRAM          LICENSES                                  209.00
 10/11/2016    104918    PITNEY BOWES GLOBAL FINANCIAL    OTHER DIRECT EXP                        2,127.69
 10/11/2016    104920    DAIRY KING MILK FARMS            MEDICAL SUPPLIES                          725.46
 10/11/2016    104921    SOUTHLAND MEDICAL DIALYSIS INC   PURCHASED SERVICES                        350.00
 10/12/2016    104922    COOK MEDICAL INCORPORATED        MEDICAL SUPPLIES                          698.00
 10/12/2016    104923    J & J HEALTH CARE SYSTEMS INC    MEDICAL SUPPLIES                          721.33
 10/12/2016    104924    OLYMPUS                          MEDICAL SUPPLIES                          229.31
 10/12/2016    104925    PROACTIVE MEDICAL STAFFING INC   CONTRACT LABOR                          2,940.00
 10/13/2016    104926    BAXTER HEALTHCARE CORPORATION    MEDICAL SUPPLIES                          481.60
 10/13/2016    104927   MINDRAY DS USA, INC.              MEDICAL SUPPLIES                          769.50
 10/13/2016    104928    OFFICE DEPOT                     MEDICAL SUPPLIES                          786.20
 10/13/2016    104929    SOUTHLAND MEDICAL DIALYSIS INC   PURCHASED SERVICES                        350.00
 10/13/2016    104930    BIOTRONIK, INC.                  MEDICAL SUPPLIES                        5,200.00
10/13/2016     104931    ST. JUDE MEDICAL S.C. INC.       MEDICAL SUPPLIES                       6,750.00
10/14/2016     104932    XEROX C/O BMO HARRIS BANK        MEDICAL SUPPLIES                          247.73
10/14/2016     104933    SOUTHLAND MEDICAL DIALYSIS INC   PURCHASED SERVICES                        700.00
10/17/2016     104934    CERRITOS GARDENS GEN HOSP. CO    RENTAL EXP                            64,691.63
10/18/2016     104935    TRI-SERVICE CO, INC.             PURCHASED SERVICES                        591.00
10/18/2016    104936     U.S. TRUSTEE                     OTHER DIRECT EXP                      13,000.00
10/18/2016    104937     WESTERN DIAGNOSTIC IMAGING       MEDICAL SUPPLIES                        1,890.00
10/18/2016    104938    ABBOTT LABORATORIES               MEDICAL SUPPLIES                        2,660.41
10/18/2016    104940    AMERICAN RED CROSS BLOOD SERV     MEDICAL SUPPLIES                          940.00
10/18/2016    104941    AT&T MOBILITY                     UILITIES                                1,163.88
10/18/2016    104942    CALIFORNIA STATE BOARD OF         TAXES                                     331.00
10/18/2016    104944    CINTAS CORPORATION #053           MEDICAL SUPPLIES                       1,126.76
10/18/2016    104945    COAST SPEECH PATHOLOGY            PURCHASED SERVICES                        600.00
10/18/2016    104947    DIRECTV                           UILITIES                                   74.99
10/18/2016    104948    FIRST QUALITY MEDICAL                                                   38,087.50
10/18/2016    104948    FIRST QUALITY MEDICAL                                                  (38,087.50)
10/18/2016    104949    FRONTIER COMMUNICATIONS           UILITIES                                  829.10
10/18/2016    104950    INSIGHT INVESTIGATIONS, INC.      PURCHASED SERVICES                     1,112.00
10/18/2016    104951    LEADER OFFICE SOLUTIONS           PURCHASED SERVICES                     2,180.00
10/18/2016    104952    MEDICAL DATA EXCHANGE             PURCHASED SERVICES                     2,650.00
10/18/2016    104953    MEDICLEAN INC.                    PURCHASED SERVICES                     7,828.24
10/18/2016    104954    OLYMPUS FINANCIAL SERVICES        RENTAL EXP                             9,137.07
10/18/2016    104955    PAPER RECYCLING & SHREDDING       PURCHASED SERVICES                        204.00
10/18/2016    104956    PROACTIVE MEDICAL STAFFING INC    CONTRACT LABOR                         3,529.50
10/18/2016    104957    REPUBLIC SERVICES #902            UILITIES                               2,398.10
10/18/2016    104958    LUCITA H. RODRIGUEZ               PURCHASED SERVICES                        576.00
10/18/2016    104960    SO CAL INFECTION CONTROL SVCS.    PURCHASED SERVICES                     3,500.00
10/18/2016    104961    SO. CA. IMMEDIATE MEDICAL CTR.    BENEFITS-WORK COMP                        427.61
10/18/2016    104962    SPARKLETTS                        UILITIES                               1,090.27
10/18/2016    104963    REVA SWADENER                     OTHER DIRECT EXP                          150.00
10/18/2016    104964    TERMINIX                          PURCHASED SERVICES                        400.00
10/18/2016    104965    TIME WARNER CABLE                 UILITIES                                  436.00
10/18/2016    104966    CALIFORNIA STATE BOARD OF         TAXES                                    780.00
10/18/2016    104967    AMERICAN RED CROSS BLOOD SERV     MEDICAL SUPPLIES                       3,055.00
10/18/2016    104968    DAIRY KING MILK FARMS             MEDICAL SUPPLIES                          917.19
10/18/2016    104969    DMV                               LICENSES                                   31.00
10/18/2016    104970    PAETEC COMMUNICATIONS, INC.       UILITIES                               2,565.89
10/18/2016    104971    BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                          266.50
10/19/2016    104972    SOUTHLAND MEDICAL DIALYSIS INC    PURCHASED SERVICES                     1,750.00
10/20/2016    104973    BIO-RAD LABORATORIES, INC.        MEDICAL SUPPLIES                          949.00
10/20/2016    104974    IMMUCOR, INC.                     MEDICAL SUPPLIES                         817.57
10/20/2016    104975    PROMED SOLUTIONS, INC.            MEDICAL SUPPLIES                       1,300.00
10/20/2016    104976    SIEMENS HEALTHCARE DIAGNOSTICS    MEDICAL SUPPLIES                         461.50
10/20/2016    104977    ABBOTT LABORATORIES               MEDICAL SUPPLIES                       8,209.09
10/20/2016    104978    BIO-RAD LABORATORIES, INC.        MEDICAL SUPPLIES                       3,065.00
10/20/2016    104979    CMRS-PB                                                                  2,000.00
10/20/2016    104979    CMRS-PB                                                                 (2,000.00)
10/20/2016    104980    FIRST QUALITY MEDICAL             PURCHASED SERVICES                    27,000.00
10/20/2016    104981    PACIFIC MEDICAL IMAGING, INC      PURCHASED SERVICES                     1,610.00
10/20/2016    104982    SOUTHLAND MEDICAL DIALYSIS INC    PURCHASED SERVICES                     1,400.00
10/21/2016    104983    BAXTER HEALTHCARE CORPORATION     MEDICAL SUPPLIES                       1,173.92
10/21/2016    104984    FEDEX                             PURCHASED SERVICES                       144.97
10/21/2016    104985    SOUTHLAND MEDICAL DIALYSIS INC    PURCHASED SERVICES                       700.00
10/24/2016    104986    CMRS-PB                           OTHER DIRECT EXP                       1,000.00
10/24/2016    104987    PACIFIC MEDICAL IMAGING, INC      PURCHASED SERVICES                     1,610.00
10/25/2016    104988    ALLIED RELIABILITY, INC.          PURCHASED SERVICES                     1,400.00
10/25/2016    104989    BUTLER CHEMICALS, INC.            MEDICAL SUPPLIES                         388.08
10/25/2016    104990    CAREFUSION SOLUTIONS, LLC         RENTAL EXP                             4,295.69
10/25/2016    104992    LOS ANGELES CO TAX COLLECTOR      TAXES                                    152.55
10/25/2016    104993    OFFICE DEPOT                      MEDICAL SUPPLIES                         551.55
10/25/2016    104994    PRECISION DYNAMICS CORP (PDC)     MEDICAL SUPPLIES                         487.01
10/25/2016    104995    R-R AIR-CONDITIONING INC.         PURCHASED SERVICES                     1,980.00
10/25/2016    104996    SORIN CRM USA, INC.               MEDICAL SUPPLIES                     16,500.00
10/25/2016    104997    GREGG YOST                        TRAVEL EXP                               528.70
10/25/2016    104998    R-R AIR-CONDITIONING INC.         PURCHASED SERVICES                     1,450.00
10/25/2016    104999    R-R AIR-CONDITIONING INC.         PURCHASED SERVICES                       840.00
10/25/2016    105000    ABBOTT LABORATORIES               MEDICAL SUPPLIES                       5,073.04
10/25/2016    105002    BETTER BEVERAGES                  MEDICAL Sijgtibi 74)I 16                   44.93
10/25/2016    105004    DR. ELIZABETH DE CASTRO           PURCHASED SERVICES                       708.00
10/25/2016    105005    ECOLAB PEST ELIMINATION DIV.      PURCHASED SERVICES                         53.84
 10/25/2016     Case 2:16-bk-17463-ER        Doc 550
                      CHANGE HEALTHCARE SOLUTIONS
                  105006                                 Filed
                                                   PURCHASED     11/28/16 Entered 11/28/16 12:16:27
                                                             SERVICES
                                                   MEDICAL SUPPLIES
                                                                                              588.00
                                                                                              636.37
                                                                                                                         Desc
 10/25/2016           FARMERS BROS COFFEE COMPANY
                  105007
 10/25/2016       105008
                      INFUSYSTEM               MainRENTAL
                                                    Document
                                                          EXP         Page 4 of 31            817.60
 10/25/2016       105009   HUB INTERNATIONAL INSURANCE     INSURANCE                                       3,842.00
 10/25/2016       105011   KATHRYN M. STANTON,             PROFESSIONAL FEES                               4,547.50
 10/25/2016       105012   KING MEDICAL SUPPLY, INC.      RENTAL EXP                                         297.00
 10/25/2016       105014   THE LAW OFFICE OF JASON L.     PURCHASED SERVICES                               2,084.27
 10/25/2016       105015   LYMOL MEDICAL                  MEDICAL SUPPLIES                                   281.00
 10/25/2016       105017   PAPER RECYCLING & SHREDDING    PURCHASED SERVICES                                 102.00
 10/25/2016       105019   SEIU-LOCAL 121 RN              OTHER DIRECT EXP                                   119.00
 10/25/2016       105021   TERMINIX                       PURCHASED SERVICES                                 200.00
 10/25/2016       105025   US BANK EQUIPMENT FINANCE      RENTAL EXP                                       4,844.84
 10/25/2016       105029   FIRST QUALITY MEDICAL          PURCHASED SERVICES                             11,087.50
 10/25/2016       105030   SOUTHLAND MEDICAL DIALYSIS INC PURCHASED SERVICES                                 850.00
 10/25/2016       105031   DAIRY KING MILK FARMS          MEDICAL SUPPLIES                                   619.60
 10/25/2016       105032   SOUTHLAND MEDICAL DIALYSIS INC PURCHASED SERVICES                                 350.00
 10/25/2016       105033   ABBOTT LABORATORIES            MEDICAL SUPPLIES                                 1,602.34
 10/25/2016       105034   ABBOTT LABORATORIES            MEDICAL SUPPLIES                                   312.26
 10/25/2016       105035   ADVANCED ORTHOPAEDIC SOLUTIONS MEDICAL SUPPLIES                                 4,800.00
 10/26/2016       105036   C.R.BARD INC.                  MEDICAL SUPPLIES                                 1,476.60
 10/26/2016       105037   COOK MEDICAL INCORPORATED      MEDICAL SUPPLIES                                   540.36
 10/26/2016       105038   MERRY X-RAY                    MEDICAL SUPPLIES                                   507.67
 10/26/2016       105039   SOUTHLAND MEDICAL DIALYSIS INC PURCHASED SERVICES                                 850.00
 10/27/2016       105040   ACCENT CARD SERVICES, INC.     MEDICAL SUPPLIES                                   452.45
 10/27/2016       105041   BAXTER HEALTHCARE CORPORATION MEDICAL SUPPLIES                                    446.55
 10/27/2016       105042   BOARD OF EQUALIZATION          TAXES                                            1,257.00
 10/27/2016       105043   JDS TANK TESTING & REPAIR INC. PURCHASED SERVICES                                 140.00
 10/27/2016       105044   LOS ANGELES CO TAX COLLECTOR   TAXES                                              152.55
 10/27/2016       105045   XEROX C/O BMO HARRIS BANK      MEDICAL SUPPLIES                                   565.08
 10/27/2016       105046   SOUTHLAND MEDICAL DIALYSIS INC PURCHASED SERVICES                               1,050.00
 10/27/2016       105047   KPC GLOBAL MANAGEMENT, LLC     PURCHASED SERVICES                             15,354.64
 10/11/2016        WIRE    STANLEY OTAKE                  PURCHASED SERVICES                               7,500.00
 10/11/2016        WIRE    WILSHIRE PACIFIC CAPITAL       PURCHASED SERVICES                               5,000.00
 10/20/2016        WIRE    MAXIM STAFFING SOLUTIONS       CONTRACT LABOR                                   1,120.00
  10/6/2016        WIRE    US FOODS, INC.                 MEDICAL SUPPLIES                                 3,494.50
 10/31/2016        WIRE    STANLEY OTAKE                  PURCHASED SERVICES                               7,500.00
 10/31/2016        WIRE    WILSHIRE PACIFIC CAPITAL       PURCHASED SERVICES                               8,750.00
  10/4/2016        WIRE    BETA HEALTHCARE GROUP RMA      INSURANCE                                      80,380.00
 10/25/2016        WIRE    WILSHIRE PACIFIC CAPITAL       PURCHASED SERVICES                               2,500.00
 10/25/2016        WIRE    STANLEY OTAKE                  PURCHASED SERVICES                               7,500.00
    Daily     EFT          CARDINALS                      MEDICAL SUPPLIES                               102,992.54 II
  9/6/2016 EFT             KANSAS STATE                   RENTAL EXP                                        5,409.04
    Daily                  BANK FEE/CHECK RETURNED        Other direct                                     (1,139.73)
10/1-10/31/16              PAYROLL-NET                    payroll account                              1,091,689.09
10/12/2016                 OPPENHEIMER                    40313                                             7,310.20
10/26/2016                 OPPENHEIMER                    403B                                              7,664.51
10/1-10/31/16              ACH                            FSA                                               3,107.05
 9/30/2016                 OUTSTANDING CHECKS CLEARED                                                    137,492.17
10/31/2016                 OUTSTANDING CHECKS                                                            (92,364.53)



                           Other - Unreconciled           Other                                            1,553.58
                                                      TOTAL DISBURSEMENTS THIS PERIOD   0.00   0.00   $2,115,013.52
                                                                                                         2,115,013.52
                                                                                                               saute




                                                                   Page 2 of 16
           Case 2:16-bk-17463-ER          Doc 550  FiledACCOUNT
                                              GENERAL   11/28/16 Entered 11/28/16 12:16:27    Desc
                                           Main Document    Page 5 of 31
                                            BANK RECONCILIATION

                   Bank statement Date:             10/31/2016      Balance on Statement:    $139,948.00

Plus deposits in transit (a):
                                               Deposit Date           Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                            0.00
Less Outstanding Checks (a):
                    Check Number                Check Date             Check Amount

                            104401               7/20/2016                         428.58
                            104773               9/20/2016                       2,250.00
                            104918              10/11/2016                       2,127.69
                            104935              10/18/2016                         591.00
                            104938              10/18/2016                       2,660.41
                            104942              10/18/2016                         331.00
                            104944              10/18/2016                       1,126.76
                            104945              10/18/2016                        600.00
                            104949              10/18/2016                        829.10
                            104950              10/18/2016                       1,112.00
                            104952              10/18/2016                       2,650.00
                            104953              10/18/2016                       7,828.24
                            104955              10/18/2016                        204.00
                            104957              10/18/2016                       2,398.10
                            104958              10/18/2016                        576.00
                            104960              10/18/2016                       3,500.00
                            104962              10/18/2016                       1,090.27
                            104963              10/18/2016                        150.00
                            104964              10/18/2016                        400.00
                            104965              10/18/2016                        436.00
                            104966              10/18/2016                         780.00
                            104967              10/18/2016                       3,055.00
                            104969              10/18/2016                         31.00
                            104988              10/25/2016                      1,400.00
                           104990               10/25/2016                      4,295.69
                           104995               10/25/2016                      1,980.00
                           104996               10/25/2016                     16,500.00
                           104997               10/25/2016                        528.70
                           104998               10/25/2016                      1,450.00
                           104999               10/25/2016                        840.00
                           105002               10/25/2016                         44.93
                           105004               10/25/2016                        708.00
                           105005               10/212S2W 3 of 16                  53.84
                           105006               10/25/2016                        588.00
        Case 2:16-bk-17463-ER
                     105009     Doc 55010/25/2016
                                           Filed 11/28/16 Entered 11/28/16
                                                                   3,842.00 12:16:27   Desc
                     105011      Main Document
                                       10/25/2016    Page 6 of 31  4,547.50
                     105015            10/25/2016                    281.00
                     105017            10/25/2016                    102.00
                     105019            10/25/2016                    119.00
                     105021            10/25/2016                    200.00
                     105036            10/26/2016                   1,476.60
                     105037            10/26/2016                    540.36
                     105038            10/26/2016                    507.67
                     105040            10/27/2016                    452.45
                     105042            10/27/2016                   1,257.00
                     105043            10/27/2016                    140.00
                     105047            10/27/2016                  15,354.64




                                                                                       92,364.53
Bank statement Adjustments:
Explanation of Adjustments-
ADJUSTED BANK BALANCE:                                                                 47,583.47




                                          Page 3 of 16
         Case 2:16-bk-17463-ER   Doc 550 AND
                        I. CASH RECEIPTS   FiledDISBURSEMENTS
                                                 11/28/16 Entered 11/28/16 12:16:27    Desc
                                   Main Document
                                B. (PAYROLL ACCOUNT) Page 7 of 31

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                               0.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                          18,577.54

4. RECEIPTS DURING CURRENT PERIOD:                                          1,096,700.12
   (Transferred from General Account)

5. BALANCE:                                                                 1,115,277.66

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD                          1,091,689.09
   TOTAL DISBURSEMENTS THIS PERIOD:***

7. ENDING BALANCE:                                                             23,588.57

8. PAYROLL Account Number(s):                325000545143

  Depository Name & Location:




                                           Page 4 of 16
            Case
            TOTAL2:16-bk-17463-ER
                    DISBURSEMENTSDoc 550PAYROLL
                                  FROM     Filed 11/28/16
                                                   ACCOUNTEntered 11/28/16 12:16:27
                                                             FOR CURRENT   PERIOD     Desc
                                   Main Document     Page 8 of 31
  Date      Check
mm/dd/yyyy Number              Payee                         Purpose             Amount

 10/6/2016    5525                          manual check                              4,794.08
 10/6/2016    5526                          manual check                              5,953.90
10/12/2016    5527                          manual check                              1,494.85
10/12/2016    5528                          manual check                                 99.35
10/14/2016    5529                          manual check                                884.09
10/16/2016    5530                          manual check                                 16.94
10/20/2016    5531                          manual check                              4,794.10
10/20/2016    5532                          manual check                              5,953.90
10/19/2016    5533                          manual check                                550.82
10/19/2016    5534                          manual check                                 14.45
10/25/2016    5535                          manual check                                326.06
10/25/2016    5536                          manual check                                240.65
10/25/2016    5537                          manual check                                 68.99
10/25/2016    5538                          manual check                              1,940.32
              5539                          manual check                                  0.00
10/31/2016    5540                          manual check                                750.82
10/31/2016    5541                          manual check                                170.60
10/31/2016    5542                          manual check                                 46.07
10/31/2016    5543                          manual check                                337.23
10/31/2016    5544                          manual check                                487.13
10/31/2016    5545                          manual check                                 74.75
10/6/2016     00100445                      ADP check                                   810.43
 10/6/2016    00100446                      ADP check                                 1,796.44
 10/6/2016    00100447                      ADP check                                 1,593.31
 10/6/2016    00100448                      ADP check                                 2,280.23
 10/6/2016    00100449                      ADP check                                   841.24
 10/6/2016    00100450                      ADP check                                   886.85
 10/6/2016    00100451                      ADP check                                 2,303.15
 10/6/2016    00100452                      ADP check                                   910.64
 10/6/2016    00100453                      ADP check                                 2,059.46
 10/6/2016    00100454                      ADP check                                 1,677.74
 10/6/2016    00100455                      ADP check                                 1,454.22
 10/6/2016    00100456                      ADP check                                 2,101.23
 10/6/2016    00100457                      ADP check                                 1,635.21
 10/6/2016    00100458                      ADP check                                  643.30
 10/6/2016    00100459                      ADP check                                  495.57
10/6/2016     00100460                      ADP check                                  315.15
10/6/2016     00100461                      ADP check                                  386.80
10/6/2016     00100462                      ADP check                                   942.95
10/6/2016     00100463                      ADP check                                 1,207.84
10/6/2016     00100464                      ADP check                                 2,647.52
10/6/2016    00100465                       ADP check                                 3,517.87
10/6/2016    00100466                       ADP check                                  712.63
10/6/2016    00100467                       ADP check                                 1,055.78
10/6/2016    00100468                       ADP check                                 1,164.52
                                            APE519zFlcgc16
10/6/2016    00100469                                                                  971.69
10/6/2016Case 2:16-bk-17463-ER
           00100470              Doc 550 ADP
                                          Filedcheck
                                                11/28/16 Entered 11/28/16 12:16:27   Desc
                                                                                     2,031.30
10/6/2016    00100471
                                  Main Document
                                          ADP check Page 9 of 31                     2,385.30
10/6/2016    00100472                     ADP check                                  1,160.42
10/6/2016    00100473                     ADP check                                    734.77
10/6/2016    00100474                     ADP check                                    702.14
10/6/2016    00100475                     ADP check                                  1,060.97
10/6/2016    00100476                     ADP check                                    756.07
10/6/2016    00100477                     ADP check                                  1,208.02
10/6/2016    00100478                     ADP check                                  1,028.90
10/6/2016    00100479                     ADP check                                    808.38
10/6/2016    00100480                     ADP check                                    685.19
10/6/2016    00100481                     ADP check                                  1,381.02
10/6/2016    00100482                     ADP check                                    961.04
10/6/2016    00100483                     ADP check                                  1,272.53
10/6/2016    00100484                     ADP check                                    876.33
10/6/2016    00100485                     ADP check                                    843.29
10/6/2016    00100486                     ADP check                                  1,824.45
10/6/2016    00100487                     ADP check                                  1,017.13
10/6/2016    00100488                     ADP check                                    913.26
10/6/2016    00100489                     ADP check                                    243.92
10/6/2016    00100490                     ADP check                                    113.37
10/6/2016    00100491                     ADP check                                    381.83
10/6/2016    00100492                     ADP check                                    130.59
10/6/2016    00100493                     ADP check                                    903.33
10/6/2016    00100494                     ADP check                                  1,038.15
10/6/2016    00100495                     ADP check                                  1,537.12
10/6/2016    00100496                     ADP check                                  2,197.79
10/6/2016    00100497                     ADP check                                  3,959.48
10/6/2016    00100498                     ADP check                                  2,979.19
10/6/2016    00100499                     ADP check                                    363.98
10/20/2016   00100500                     ADP check                                  1,811.58
10/20/2016   00100501                     ADP check                                  1,872.72
10/20/2016   00100502                     ADP check                                  2,206.30
10/20/2016   00100503                     ADP check                                  1,281.56
10/20/2016   00100504                     ADP check                                   958.61
10/20/2016   00100505                     ADP check                                  1,690.51
10/20/2016   00100506                     ADP check                                  1,460.12
10/20/2016   00100507                     ADP check                                  1,397.37
10/20/2016   00100508                     ADP check                                   162.21
10/20/2016   00100509                     ADP check                                  1,191.66
10/20/2016   00100510                     ADP check                                  1,468.67
10/20/2016   00100511                     ADP check                                  2,505.20
10/20/2016   00100512                     ADP check                                  1,402.87
10/20/2016   00100513                     ADP check                                   282.32
10/20/2016   00100514                     ADP check                                   249.51
10/20/2016   00100515                     ADP check                                   481.42
10/20/2016   00100516                     ADP check                                   511.90
10/20/2016   00100517                     ADP check                                   622.10
10/20/2016   00100518                     ADP check                                  1,062.93
10/20/2016   00100519                     ADP check                                  1,005.45
10/20/2016   00100520                     PTAnta16                                   2,316.80
10/20/2016   00100521                     ADP check                                  2,610.34
         Case
10/20/2016    2:16-bk-17463-ER
           00100522              Doc 550 ADP
                                          Filedcheck
                                                11/28/16 Entered 11/28/16 12:16:27     Desc
                                                                                       1,207.37
10/20/2016   00100523             Main Document
                                          ADP check Page 10 of 31                      1,090.19
10/20/2016   00100524                     ADP check                                    2,601.63
10/20/2016   00100525                     ADP check                                    1,971.94
10/20/2016   00100526                     ADP check                                    2,892.65
10/20/2016   00100527                     ADP check                                    1,124.98
10/20/2016   00100528                     ADP check                                      738.20
10/20/2016   00100529                     ADP check                                      862.72
10/20/2016   00100530                     ADP check                                    2,404.73
10/20/2016   00100531                     ADP check                                      307.45
10/20/2016   00100532                     ADP check                                    1,195.32
10/20/2016   00100533                     ADP check                                      778.72
10/20/2016   00100534                     ADP check                                     806.68
10/20/2016   00100535                     ADP check                                     620.82
10/20/2016   00100536                     ADP check                                    1,382.81
10/20/2016   00100537                     ADP check                                     964.56
10/20/2016   00100538                     ADP check                                    1,399.48
10/20/2016   00100539                     ADP check                                     682.81
10/20/2016   00100540                     ADP check                                     996.01
10/20/2016   00100541                     ADP check                                    1,824.45
10/20/2016   00100542                     ADP check                                    1,021.98
10/20/2016   00100543                     ADP check                                     764.01
10/20/2016   00100544                     ADP check                                     254.26
10/20/2016   00100545                     ADP check                                     113.37
10/20/2016   00100546                     ADP check                                     261.13
10/20/2016   00100547                     ADP check                                     114.27
10/20/2016   00100548                     ADP check                                    1,004.27
10/20/2016   00100549                     ADP check                                    1,038.15
10/20/2016   00100550                     ADP check                                    1,072.19
10/20/2016   00100551                     ADP check                                    1,455.55
10/20/2016   00100552                     ADP check                                    3,959.48
10/20/2016   00100553                     ADP check                                   2,244.42
10/20/2016   00100554                     ADP check                                     357.45

10/1/2016                                 garnishments
10/15/2016                                garnishments
10/15/2016                                direct deposit-executive team
10/1/2016                                 direct deposit                     $    298,141.35
10/15/2016                                direct deposit                     $    291,091.73
10/1/2016                                 taxes                              $    159,740.22
10/15/2016                                taxes                              $    153,971.55
10/15/2016                                taxes-executive team                         5,753.17
 10/1/2016                                ADP FEES                           $       12,355.46
10/31/2016                                Outstanding checks                 $    (13,055.42)
9/30/2016                                 Outstanding checks cleared         $     16,315.66
                                          VARIANCE                                    399.04
                                          Total                              $ 1,091,689.09



                                           Page 5 of 16
   Case 2:16-bk-17463-ER  Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27   Desc
 5530                      Main Document
                       10/16/16  $          Page
                                            16.94 11 of 31
 5533                10/19/2016   $             550.82
 5536                10/25/2016   $             240.65
 5537                10/25/2016   $              68.99
 5538                10/31/2016   $           1,940.32
 5540                10/31/2016   $             750.82
 5541                10/31/2016   $             170.60
 5542                10/31/2016   $              46.07
 5543                10/31/2016   $             337.23
 5544               10/31/2016    $             487.13
 5545               10/31/2016    $              74.75
100354                 9/8/2016   $             383.67
100399                            $             315.49
100409                            $              25.95
100452                10/5/2016   $             910.64
100507              10/19/2016    $           1,397.37
100513              10/19/2016    $             282.32
100514              10/19/2016    $            249.51
100520              10/19/2016    $           2,316.80
100531              10/19/2016    $             307.45
100541              10/19/2016    $           1,824.45
100554              10/19/2016    $            357.45




                                      Page 6 of 16
         Case 2:16-bk-17463-ER   Doc 550 AND
                        I. CASH RECEIPTS  FiledDISBURSEMENTS
                                                11/28/16 Entered 11/28/16 12:16:27    Desc
                                  Main Document
                                  C. (TAX ACCOUNT)  Page 12 of 31

1. TOTAL RECEIPTS PER ALL PRIOR TAX ACCOUNT REPORTS

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR TAX
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                   0

4. RECEIPTS DURING CURRENT PERIOD:
   (Transferred from General Account)

5. BALANCE:                                                                          0.00

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                               0.00

7. ENDING BALANCE:                                                                   0.00

8. TAX Account Number(s):

  Depository Name & Location:




                                          Page 7 of 16
        Case 2:16-bk-17463-ER
           TOTAL   DISBURSEMENTSDocFROM
                                     550 TAX
                                          Filed ACCOUNT
                                                11/28/16 FOR
                                                          Entered 11/28/16
                                                               CURRENT     12:16:27 Desc
                                                                         PERIOD
                                  Main Document     Page 13 of 31
  Date      Check
mm/dd/yyyy Number           Payee                        Purpose                  Amount




                                          Page 8 of 16
                 Case 2:16-bk-17463-ER                       Doc 550
                                                                   TAXFiled 11/28/16 Entered 11/28/16 12:16:27
                                                                       ACCOUNT                                        Desc
                                                              Main Document     Page 14 of 31
                                                              BANK RECONCILIATION

                            Bank statement Date:                                              Balance on Statement:

 Plus deposits in transit (a):
                                                                       Deposit Date              Deposit Amount




 TOTAL DEPOSITS IN TRANSIT                                                                                              0.00

 Less Outstanding Checks (a):
                     Check Number                                          Check Date             Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                               0.00

Bank statement Adjustments:
Explanation of Adjustments-



ADJUSTED BANK BALANCE:                                                                                                 $0.00
* It is acceptable to replace this form with a similar form                    Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
       Case 2:16-bk-17463-ERI. DDoc 550 Filed
                                SUMMARY        11/28/16OFEntered
                                          SCHEDULE       CASH 11/28/16 12:16:27                                                   Desc
                                 Main Document     Page 15 of 31
ENDING BALANCES FOR THE PERIOD:            10/31/2016
                               (Provide a copy of monthly account statements for each of the below)


                                                                General Account:                                      $139,948
                                                                Payroll Account:                                        23,589
                                                                   Tax Account:
     *Other Accounts:                                Government Deposit Account:                                        839,999
                                                  Flexibale Spending                                                      1,399
                                                  IPA account                                                            26,236
       *Other Monies:
                                                         **Petty Cash (from below):

TOTAL CASH AVAILABLE:                                                                                                             $1,031,171


Petty Cash Transactions:
        Date                                 Purpose                                                            Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                           0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




                                                                             Page 10 of 16
          Case 2:16-bk-17463-ER   Doc 550 TO
                  II. STATUS OF PAYMENTS   Filed 11/28/16CREDITORS,
                                               SECURED     Entered 11/28/16
                                                                     LESSORS12:16:27                Desc
                        AND OTHERMain   Document
                                   PARTIES           Page 16 CONTRACTS
                                            TO EXECUTORY     of 31

                                                                       Post-Petition
                            Frequency of Payments                   payments not made
 Creditor, Lessor, Etc.           (Mo/Qtr)        Amount of Payment     (Number)                 Total Due

Fuji Flirn Medical Sys              Mo                      9,728.00             9,728.00             9,728.00
Kansas State Bank                   Mo                      5,409.04                 0.00                 0.00
Leader Digital/GE Capita            Mo                      5,771.00             6,905.00             6,905.00
Olympus                             Mo                     18,779.92                     0                0.00
Stryker Finance                     Mo                              0                 -                   0.00




                                                                            TOTAL DUE:               16,633.00


                                            III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                          Gross Sales Subject to Sales Tax:              3,880
                                                                        Total Wages Paid:            1,034,486

                                                  Total Post-Petition                         Date Delinquent
                                                   Amounts Owing Amount Delinquent             Amount Due
                           Federal Withholding               124,975
                           State Withholding                  45,007
                           FICA- Employer's Share             74,780
                           FICA- Employee's Share             74,702
                           Federal Unemployment
                           Sales and Use
                           Real Property
                 Other:
                                         TOTAL:              319,464                  -

                                                  Page 11 of 16
                      Case 2:16-bk-17463-ER     DocPAYABLE
                              IV. AGING OF ACCOUNTS  550 Filed  11/28/16 Entered 11/28/16 12:16:27
                                                           AND RECEIVABLE                                                                                                    Desc
                                                 Main Document      Page 17 of 31
                                                                                            *Accounts Payable                      Accounts Receivable
                                                                                              Post-Petition                   Pre-Petition     Post-Petition
                                                                     30 days or less        $     764,906.00                                 $ 1,527,740.46
                                                                       31 - 60 days         $     492,322.00              $              -   $    852,702.63
                                                                       61 - 90 days         $     525,708.00              $              -   $    710,585.53
                                                                      91 - 120 days         $    302,287.00                                  $    381,295.00
                                                                     Over 120 days          $    248,017.00               $    2,558,915.70
                                                                           TOTAL:           $ 2,333,240.00                $    2,558,915.70     3,472,323.62

                                                                 V. INSURANCE COVERAGE

                                                                                                  Amount of              Policy Expiration             Premium Paid
                                                                 Name of Carrier                  Coverage                     Date                   Through (Date)
                                            Healthcar BETA Healthcare                      $10m / incident                              7/1/2017                11/30/2016
                                      Professional an Group Risk                           $20m aggregate
                                                       Management
                                      General Liabilit
                                                               Authority
                               Commerical Property Zurich American Ins $16m building                                                  7/29/2017                 11/29/2016
                                                               Co                          $10m personal prop.
                                                                                           $12m business income

                                                     Crime Chubb/Federal Ins               $1m / claim                                6/1 5/2017                 6/15/2017
                                                               Co
                                                D&O            RSUI Indemnity              $5m                                        9/1 5/2016                11/19/2016
                                            Fuel Tank Ace USA                              $1m / storage tank                           3/6/2017                  3/6/2017
                                        Workers Comp Starstone National                   $1m / accident                                2/1 /2017               9/30/2016
                                                               Ins Co
                       Others:                        Auto Non-Profits United             $ lin                                         7/1/2017                 1/15/2017



                                              VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                           (TOTAL PAYMENTS)

     Quarterly Period                     Total                                                                                                       Quarterly Fees
      Ending (Date)                   Disbursements              Quarterly Fees                   Date Paid                 Amount Paid                Still Owing




 l'ost-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report




                                                                                                        Page 12 of 16
           Case 2:16-bk-17463-ER
                          VII SCHEDULEDocOF550COMPENSATION
                                                  Filed 11/28/16 PAID
                                                                   Entered  11/28/16 12:16:27 Desc
                                                                        TO INSIDERS
                                       Main Document        Page 18 of 31
                                      Date of Order                                            Gross
                                       Authorizing                                        Compensation Paid
          Name of Insider             Compensation        *Authorized Gross Compensation During the Month
 Stanley Otake                   no objections were filed $7,500/week                     $      22,500.00
 Charles Natcher                 during the 15-day period $6,923.08 bi-weekly             $      23,077.00
 David Herskovitz               ending 7/1/16              $8,653.85 bi-weekly            $      17,308.00




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                          Amount Paid
              Name of Insider                              Compensation                           Description   During the Month
None




* Please indicate how compensation Was identified in the order (e.g. $1,000/week, $2,500/month)

                                                                            Page 13 of 16
                  Case 2:16-bk-17463-ER IX.
                                         Doc  550 AND
                                            PROFIT FiledLOSS
                                                         11/28/16   Entered 11/28/16 12:16:27
                                                              STATEMENT                                                   Desc
                                          Main(ACCRUAL
                                                DocumentBASISPage 19 of 31
                                                              ONLY)

                                                                                Current Month         Cumulative Post-Petition
 Sales/Revenue:
    Gross Sales/Revenue                                                                 $9,188,977               $46,002,628
    Less: Returns/Discounts
                                                           Net Sales/Revenue             9,188,977                46,002,628

 Contractuals

      Contractuals                                                                       7,633,521                38,378,836

                                                                 Contractuals            7,633,521                38,378,836
 Net patient Revenues                                                                    1,555,456                 7,623,792
      Other Operating Income (Itemize)                                                       6,926                   112,109
 Operating Expenses:
   Payroll - Insiders                                                                       40,385                   166,694
   Payroll - Other Employees                                                               994,101                 5,165,513
   Payroll Taxes                                                                            78,608                   462,057
   Other Taxes (Itemize)                                                                    10,509                    45,142
   Depreciation and Amortization                                                            93,478                   450,749
   Rent Expense - Real Property                                                             68,645                   324,900
   Lease Expense - Personal Property                                                        33,237                   173,726
   Insurance                                                                               140,476                   749,354
   Real Property Taxes                                                                       9,117                    38,681
   Telephone and Utilities                                                                  52,399                   170,306
   Repairs and Maintenance                                                                  55,823                   261,562
   Travel and Entertainment (Itemize)                                                          859                     2,121
   Miscellaneous Operating Expenses (Itemize)                                              850,962                 3,958,836
                               Total Operating Expenses                                  2,428,599                11,969,641
                                      Net Gain/(Loss) from Operations                     (866,217)               (4,233,740)
Non-Operating Income:
  Interest Income
  Net Gain on Sale of Assets (Itemize)
  Other (Itemize)
                           Total Non-Operating income

Non-Operating Expenses:
  Interest Expense                                                                                                       556
  Legal and Professional (Itemize)                                                        412,243                  1,522,619
  Other (Itemize)
                         Total Non-Operating Expenses                                     412,243                  1,523,175
NET INCOME/(LOSS)                                                                      ($1,278,460)              ($5,756,915)
(Attach exhibit listing all itemizations required above)




                                                                       Page 14 of 16
           Case 2:16-bk-17463-ER          DocX.550  Filed 11/28/16
                                                BALANCE    SHEET    Entered 11/28/16 12:16:27   Desc
                                           Main  Document
                                            (ACCRUAL          Page 20 of 31
                                                      BASIS ONLY)


ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                        598,077
  Restricted Cash                                                          500,000
  Accounts Receivable                                                    6,031,239
  Inventory                                                              1,311,474
  Notes Receivable                                                       1,296,426
  Prepaid Expenses                                                         477,941
  Other (Itemize)
                                        Total Current Assets                              $10,215,157

Property, Plant, and Equipment                                          19,078,743
Accumulated Depreciation/Depletion                                     (16,032,383)
                       Net Property, Plant, and Equipment                                   3,046,360

Other Assets (Net of Amortization):
  Due from Insiders
  Other (Itemize)
                                          Total Other Assets
TOTAL ASSETS                                                                              $13,261,517

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                       2,333,241
  Taxes Payable                                                             28,633
  Notes Payable                                                          2,150,291
  Professional fees
  Secured Debt
  Other (Itemize)-accrued payroll                                         624,074
                             Total Post-petition Liabilities                                5,136,239

Pre-petition Liabilities:
   Secured Liabilities                                                  4,624,976
   Priority Liabilities
   Unsecured Liabilities                                               25,712,481
   Other (Itemize)
                                Total Pre-petition Liabilities                             30,337,457
TOTAL LIABILITIES                                                                        $35,473,696

EQUITY:
  Pre-petition Owners' Equity                                                             (16,455,264)
  Post-petition Profit/(Loss)                                                              (5,756,915)
  Direct Charges to Equity
TOTAL EQUITY                                                                             ($22,212,179)
TOTAL LIABILITIES & EQUITY                                                               $13,261,517
                                                      Page 15 of 16
        Case 2:16-bk-17463-ER           Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27                    Desc
                                         Main Document    Page 21 of 31
                                              XI. QUESTIONNAIRE


                                                                                                             No Yes
1. Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as
   have been authorized by the court? If "Yes", explain below:                                                X


                                                                                                             No Yes
2. Has the debtor-in-possession during this reporting period provided compensation or remuneration
   to any officers, directors, principals, or other insiders without appropriate authorization? if "Yes",
   explain below:                                                                                             X


3,   State what progress was made during the reporting period toward filing a plan of reorganization
     The Debtor conducted an auction to sell its assets under section 363. The winning bid, submitted
     by Strategic Global Management, is under review by the bankruptcy court and subject to further
     review by the California Attorney General.

4.   Describe potential future developments which may have a significant impact on the case:                None

5. Attach copies of all Orders granting relief from the automatic stay that were entered during the
   reporting period.                                                                                        None

                                                                                                             No Yes
6.   Did you receive any exempt income this month, which is not set forth in the operating report? If
     "Yes", please set forth the amounts and sources of the income below.                                     X




I,   Stan Otake,
     declare under penalty of per     that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




          /()
      Date                                           Page 16 of 16               Principal for debtor-in-possession
                               Case 2:16-bk-17463-ER              Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27                  Desc
                                                                   Main Document    Page 22 of 31
Miscellaneous Operating Expenses (Itemize)
9/30/216
                                                     10/31/2016 9/30/2016   8/31/2016       7/31/2016     6/30/2016     YTD

        Professional fees                            $112,334   $103,084     $112,358        $102,509      $75,810     $506,095
        Supplies                                      277,375    196,250      211,124         296,684      109,285    $1,090,718
  64100 Purchased svc-Medical                          48225      63,063       41,915          52,549       17,325     $223,077
  64140 Purchased svc-collection                        8,224     37,519        9,438           1,046        8,326       $64,553
  64150 Purchased svc-Laundry                          15,950     16,000        8,661          23,227       15,590      $79,428
  64160 Purchased svc-Management                      168,404    167,054      169,050         169,050      133,643     $807,201
  64990 Purchased svc-Other                            93,935    125,067      117,072          59,395      120,737     $516,206
  70130 Licenses and Fees                              17,441     29,330       16,330          22,825       13,060      $98,986
  70160 Dues & subscription                             2,243      2,743        2,475           1,993        1,594      $11,048
  70210 Business meetings                                   0    (10,500)               0       5,309        4,200        ($991)
  70220 Freight                                         4,555      4,029         4,518          1,974        1,008      $16,084
  70230 Postage                                         1,000          0         2,000                       1,600       $4,600
  70240 Bank Charge                                     3,171        260         1,295          4,209        2,713      $11,648
   7025 Adverstising                                        0      2,000         8,000                                  $10,000
  70990 Others                                            299      7,146         5,261             41       (1264)      $11,483
  61120 Paid Time Off                                  97,806    101,391       102,658        104,137       93,097     $499,089
        US Trustee quarterly fees on Finance costs                                      0       (6,500)          0       ($6,500)
        variance                                                                                     0        (139)        ($139)

        Total miscelleneous expenses                 $850,962   $844,436     $812,155        $838,448     $596,585    $3,942,586
        Case 2:16-bk-17463-ER                    Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27                                     Desc
                                                  Main Document    Page 23 of 31
Bankrupcy Finance Costs
9/30/2016
                                                 10/31/2016   9/30/2016    8/31/2016   7/31/2016    6/30/2016     YTD

 Legal fee-Dentons                                 306,222     $208,118     $569,707    $214,774          $0    $1,298,821    Legal
 Legal fee-Kathryn Stanton                          16,759                    21,250                               $38,009    Legal
'State of CA,Dept of Justice                                                   3,528                                $3,528    Legal
 US Trustee quarterly fees                                                         0        6,500          0        $6,500
 Legal fee-Promise Gardens Lending Company                                    40,577                       0       $40,577    Purchased services
 Audit fee-Promise Gardens Lending Company                                    35,688                       0       $35,688    Purchased services
 Wilshire Pacific-commissions on DIP Loan           16,250       12,500       25,007                  12,500       $66,257    Purchased services
 Interest expense on DIP loan-Promise                                          4,027                                $4,027    Interest exp
 Interest ex ense on DIP loan-Strategic Global      13,729        6,096        4,666                               $24,491    Interest exp
 Comspec-Medi-Cal Eligibility before Bk 11                       94,770                                            $94,770    Purchased Services
 Board od Director stipend accrued reserve!                    (133,080)                                         ($133,080)   Business Meeting
 Varient-AG community survey report                 59,283                                                         $59,283




Total                                            $412,243      $188,404     $704,449    $221,274    $12,500     $1,538,870
   Case 2:16-bk-17463-ER    Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27   Desc
                             Main Document    Page 24 of 31
POST PETITION LIABILITIES


Accrued Payroll                    -405780
        Case 2:16-bk-17463-ER                   Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27                                      Desc
                                                 Main Document    Page 25 of 31


                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): OPERATING REPORT NO. 4 will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 28, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

SEE ATTACHED SERVICE LIST NO. 1

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date ) November 28, 2016, I will serve the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST NO. 2.
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on November 28, 2016, I will serve the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


Via Personal Delivery
Hon. Ernest M. Robles
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 East Temple Street/Courtroom 1568
Los Angeles, CA 90012

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 28, 2016 ALICIA AGUILAR                                                             /s/ Alicia Aguilar
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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                                        Case 2:16-bk-17463-ER     Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27            Desc
                                                                   Main Document    Page 26 of 31


                                          1                                        SERVICE LIST
                                          2   In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                              Medical Center
                                          3
                                              1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                          4
                                            Anthony R. Bisconti on behalf of Interested Party Official Committee of Unsecured
                                          5 Creditors - tbisconti@bmkattorneys.com, admin@bmkattorneys.com

                                          6 Karl E Block on behalf of Creditor Harbor-Gardens Capital I, LLC
                                            kblock@loeb.com, plavine@loeb.com
                                          7
                                            Manuel A Boigues on behalf of Interested Party Courtesy NEF
                                          8 bankruptcycourtnotices@unioncounsel.net

                                          9 Bruce M. Bunch on behalf of Interested Party Courtesy NEF
                                            pam@bunchlawyers.com
601 SOUTH FIGUEROA STREET, 25TH FLOOR




                                         10 Louis J Cisz, III on behalf of Creditor Cerritos Gardens General Hospital Company
 LOS ANGELES , CALIFORNIA 90017-5704




                                            lcisz@nixonpeabody.com, sf.managing.clerk@nixonpeabody.com
                                         11
                                            Dawn M Coulson on behalf of Interested Party Courtesy NEF
         DENTONS US LLP




                                         12 dcoulson@eppscoulson.com, cmadero@eppscoulson.com
            (213) 623-9300




                                         13 Jerome Bennett Friedman on behalf of Interested Party Courtesy NEF
                                            jfriedman@flg-law.com, msobkowiak@flg-law.com;jmartinez@flg-
                                         14 law.com;sbiegenzahn@flg-law.com

                                         15 W. Jeffery Fulton on behalf of Creditor U.S. Bank National Association
                                            jeff@jeffultonlaw.com; Yvonne@jeffultonlaw.com
                                         16
                                            Barry S. Glaser on behalf of Interested Party Courtesy NEF
                                         17 bglaser@swesq.com; erhee@swesq.com
                                              Jeffrey I Golden on behalf of Interested Party Official Committee Unsecured Creditors
                                         18
                                              jgolden@wgllp.com, kadele@wgllp.com;lfisk@wgllp.com;tziemann@wgllp.com
                                         19 Rhonda S. Goldstein on behalf of Creditor The Regents of the University of California
                                            rhonda.goldstein@ucop.edu;lissa.ly@ucop.edu
                                         20
                                            Lawrence J. Hilton on behalf of Creditor Cerner Health Services, Inc.
                                         21 lhilton@onellp.com; lthomas@onellp.com; info@onellp.com; janderson@onellp.com;
                                            crodriguez@onellp.com
                                         22
                                            David Jacobs on behalf of Interested Party Courtesy NEF
                                         23 cemail@ebglaw.com, djacobs@ebglaw.com

                                         24 Ivan L Kallick on behalf of Interested Party KND Development 53, LLC
                                            ikallick@manatt.com, ihernandez@manatt.com
                                         25
                                            Eve H Karasik on behalf of Interested Party Courtesy NEF
                                         26 ehk@lnbyb.com
                                              Steven J. Katzman on behalf of Interested Party Official Committee Unsecured Creditors
                                         27
                                              skatzman@bmkattorneys.com; admin@bmkattorneys.com
                                         28
                                                                                          -1-
                                    Case 2:16-bk-17463-ER        Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27            Desc
                                                                  Main Document    Page 27 of 31


                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Michael D. Kibler MKibler@stblaw.com; Queenie.Wong@stblaw.com;
                                           jmarek@stblaw.com; tyler.bernstein@stblaw.com
                                         4
                                           Gary E Klausner on behalf of Creditor Roxbury Healthcare Services, LLC
                                         5 gek@lnbyb.com

                                         6 Gary E Klausner on behalf of Creditor Sycamore Health Care Services, LLC
                                           gek@lnbyb.com
                                         7 Gary E Klausner on behalf of Interested Party Courtesy NEF

                                         8 gek@lnbyb.com
                                           Stuart I. Koenig on behalf of Interested Party Courtesy NEF
                                         9 Skoenig@cmkllp.com, knielsen@cmkllp.com
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10 John P Kreis on behalf of Interested Party John P. Kreis, PC
 LOS ANGELES , CALIFORNIA 90017-5704




                                           jkreis@kreislaw.com, j.kreis@ca.rr.com
                                        11
                                           Dare Law on behalf of U.S. Trustee United States Trustee (LA)
         DENTONS US LLP




                                        12 dare.law@usdoj.gov, ron.maroko@usdoj.gov
            (213) 623-9300




                                        13 Elan S. Levey on behalf of Creditor U.S. Department of Health and Human Services
                                           elan.levey@usdoj.gov; louisa.lin@usdoj.gov
                                        14 Wendy A Loo on behalf of Interested Party People of the State of CA

                                        15 wendy.loo@lacity.org
                                           Stephen A Madoni on behalf of Creditor Spine Surgical Implants, Inc.
                                        16 stevemadoni@aol.com, nathally@madonilaw.com

                                        17 Howard N Madris on behalf of Creditor Lenders Funding, LLC
                                           hmadris@madrislaw.com
                                        18
                                           Boris I. Mankovetskiy on behalf of Official Committee of Unsecured Creditors
                                        19 bmankovetskiy@sillscummis.com

                                        20 Amanda L Marutzky on behalf of Interested Party Courtesy NEF
                                           amarutzk@wthf.com, jjensen@watttieder.com
                                        21 Ali Matin amatin@bmkattorneys.com, admin@bmkattorneys.com

                                        22 Reed M. Mercado
                                           rmercado@sheppardmullin.com
                                        23
                                           David W. Meadows on behalf of Creditor Olympus Corp. of the Americas
                                        24 david@davidwmeadowslaw.com

                                        25 Benjamin Nachimson on behalf of Interested Party Courtesy NEF
                                           ben.nachimson@wnlawyers.com
                                        26 Steven G. Polard on behalf of Creditor Le’ Summit Healthcare, LLC

                                        27 stevenpolard@dwt.com, melissatrobel@dwt.com; Linapearmain@dwt.com
                                           Kurt Ramlo on behalf of Interested Party Courtesy NEF
                                        28 kr@lnbyb.com, kr@ecf.inforuptcy.com
                                                                                      -2-
                                    Case 2:16-bk-17463-ER        Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27            Desc
                                                                  Main Document    Page 28 of 31


                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 David M Reeder on behalf of Creditor RollinsNelson Grp, LLC
                                           dmr@vrmlaw.com, jle@vrmlaw.com
                                         4
                                           J. Alexandra Rhim on behalf of Creditor De Lage Landen
                                         5 arhim@hemar-rousso.com

                                         6 J. Alexandra Rhim on behalf of Respondent De Lage Landen Financial Services, Inc.
                                           arhim@hemar-rousso.com
                                         7 Emily P Rich on behalf of Interested Party Courtesy NEF

                                         8 erich@unioncounsel.net, bankruptcycourtnotices@unioncounsel.net
                                           Mary H Rose on behalf of Creditor Promise Gardens Lending Company, Inc. and
                                         9 Promise Hospital of East Los Angeles, L.P.
                                           mrose@buchalter.com, mrose@buchalter.com
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10
 LOS ANGELES , CALIFORNIA 90017-5704




                                           Andrew H. Sherman on behalf of Official Committee of Unsecured Creditors
                                        11 asherman@sillscummis.com
         DENTONS US LLP




                                        12 Leonard M Shulman on behalf of Interested Party Strategic Global Management, Inc.
            (213) 623-9300




                                           lshulman@shbllp.com
                                        13
                                           Gerald N Sims on behalf of Creditor BETA Risk Management Authority
                                        14 jerrys@psdslaw.com, bonniec@psdslaw.com

                                        15 Alan Stomel on behalf of Interested Party Courtesy NEF
                                           alan.stomel@gmail.com, astomel@yahoo.com
                                        16 Tiffany Strelow Cobb on behalf of Creditor Nuance Communications, Inc.
                                           tscobb@vorys.com
                                        17
                                           Wayne R Terry on behalf of Interested Party Courtesy NEF
                                        18 wterry@hemar-rousso.com
                                        19 Gary F Torrell on behalf of Creditor RollinsNelson Grp, LLC
                                           gft@vrmlaw.com
                                        20
                                           United States Trustee (LA)
                                        21 ustpregion16.la.ecf@usdoj.gov

                                        22 Kenneth K. Wang on behalf of Interested Party Courtesy NEF
                                           kenneth.wang@doj.ca.gov; Jennifer.Kim@doj.ca.gov; yesenia.caro@doj.ca.gov
                                        23
                                           Johnny White on behalf of Interested Party Courtesy NEF
                                        24 JWhite@wrslawyers.com, aparisi@wrslawyers.com

                                        25 Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
                                           hatty.yip@usdoj.gov
                                        26

                                        27 Matthew Zandi on behalf of Creditor Kaufman Borgeest & Ryan, LLP
                                           mzandi@kbrlaw.com
                                        28
                                                                                         -3-
                                    Case 2:16-bk-17463-ER          Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27           Desc
                                                                    Main Document    Page 29 of 31


                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 2 TO BE SERVED BY U.S. MAIL:

                                         4   Regulatory Agencies
                                         5   United States Attorney’s Office             U.S. Department of Justice
                                             Central District of California              Office of the Attorney General of the United
                                         6   312 North Spring Street, Suite 1200         States
                                             Los Angeles, CA 90012                       950 Pennsylvania Avenue, NW
                                         7   Office: (213) 894-2400                      Washington, DC 20530-0001
                                             Fax: (213) 894-0141                         Office (202) 514-2000
                                         8                                               Fax: (202) 307-6777
                                         9   Wendi A. Horwitz                            Internal Revenue Service
                                             Deputy Attorney General                     300 North Los Angeles Street
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10   Dept. of Justice                            Los Angeles, CA 90012
 LOS ANGELES , CALIFORNIA 90017-5704




                                             Office of the Attorney General              Office: (213) 576-3009
                                        11   300 South Spring Street, Suite 1702
                                             Los Angeles, CA 90013
         DENTONS US LLP




                                        12
            (213) 623-9300




                                             Office: (213) 897-2178
                                             Email: wendi.horwitz@doj.ca.gov
                                        13
                                             State of California                         Sylvia Mathews Burwell, Secretary
                                        14   Franchise Tax Board                         U.S. Department of Health & Human Services
                                             300 South Spring Street, #5704              200 Independence Avenue, S.W.
                                        15   Los Angeles, CA 90013                       Washington, D.C. 20201
                                             Office: (916) 845-6500                      Office: (202) 690-6610
                                        16   Fax: None                                   Fax: (202) 690-7203
                                        17   Employment Development Dept.                Jennifer Kent, Director
                                             722 Capitol Mall                            California Department of Health Care Services
                                        18   Sacramento, CA 95814                        1501 Capitol Avenue, Suite 4510
                                             Office: (866) 333-4606                      Sacramento, CA 95814
                                        19                                               Office: (916) 464-4430
                                                                                         Fax: None
                                        20
                                             Internal Revenue Service                    Angela M. Belgrove
                                        21   600 Arch Street                             Assistant Regional Counsel
                                             Philadelphia, PA 19101                      U.S. Department of Health and
                                        22   Office: (267) 941-6800                      Human Services
                                                                                         Office of the General Counsel, Region IX
                                        23                                               90 7th Street, Suite 4-500
                                                                                         San Francisco, CA 94103-6705
                                        24                                               Office: (415) 437-8156
                                                                                         Fax: (415) 437-8188
                                        25   Office of the Attorney General
                                             Consumer Law Section
                                        26   Attn: Bankruptcy Notices
                                             455 Golden Gate Ave., Suite 11000
                                        27   San Francisco, CA 94102
                                             Office: (415) 703-5500
                                        28   Fax: (415) 703-5480
                                                                                         -4-
                                    Case 2:16-bk-17463-ER        Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27                Desc
                                                                  Main Document    Page 30 of 31


                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Request for Special Notice

                                         4 Eric Weissmanm [e-mail only]                      Rose E. Bareham
                                            Mary D. Lane                                     Purkey & Associates
                                         5 Wilshire Pacific Capital Advisors LLC             5050 Cascade Road SE Suite A
                                            8447 Wilshire Blvd., Suite 202                   Grand Rapids, MI 49546
                                         6 Beverly Hills, CA 90211                           Office: (619) 940-0553 Ext. 3
                                            eweissman@wilshirepacificadvisors.com            Fax: (619) 940-0554
                                         7 marylane@wilshirepacificadvisors.com              Email:
                                            [email courtesy copies only]                     [Counsel for Stryker Instruments]
                                         8
                                            Daniel R. Schimizzi                              Darrell W. Clark
                                         9 Bernstein-Burkley, PC                             Stinson Leonard Street LLP
                                            707 Grant Street, Suite 2200                     1775 Pennsylvania Ave., NW, Suite 800
                                        10 Gulf Tower                                        Washington, DC 20006
601 SOUTH FIGUEROA STREET. 25TH FLOOR
 LOS ANGELES , CALIFORNIA 90017-5704




                                            Pittsburgh, PA 15219                             Office: (202) 785-9100
                                        11 Office: (412) 456-8121                            Fax: (202) 785-9163
                                            Fax: (412) 456-8135                              [Counsel for Cerner Health Services]
         DENTONS US LLP




                                        12 Email: dschmizzi@bernsteinlaw.com
            (213) 623-9300




                                            [Counsel for Beckman Coulter, Inc.]
                                        13
                                            Louis J. Cisz III (NEF above)                    Robert L. Patterson, Esq.
                                        14 Nixon Peabody LLP                                 Slovak Baron Empey Murphy & Pinkney LLP
                                                                                             1800 E. Tahquiz Canyon Way
                                        15                                                   Palm Springs, California 92662

                                        16   Cerritos Gardens General Hospital Company       Mr. Oren Ben Ezra
                                             21520 South Pioneer Blvd., Suite 205            1250 E. Hallandale Beach Blvd., Suite 1000
                                        17   Hawaiian Gardens, CA 90716                      Hallandale Beach, FL 33009
                                             Attn: Pioneer Carson Corp., General Partner
                                        18          Attn: Cherna Moskowitz, President

                                        19   James Hamada, M.D.                              Amable Aguiliuz, M.D.
                                             21500 South Pioneer Blvd., Suite 208            21500 South Pioneer Blvd., Suite 209
                                        20   Hawaiian Gardens, CA 90716                      Hawaiian Gardens, CA 90716

                                        21   Rebecca J. Price
                                             Norris McLaughlin & Marcus, P.A.
                                        22   515 West Hamilton St., Suite 502
                                             Allentown, PA 18101
                                        23
                                             Creditor's Committee
                                        24
                                             Rob Speeney                                     Robert Zadek
                                        25   Cardinal Health 200, LLC                        Lenders Funding, LLC
                                             7000 Cardinal Place                             1001 Bridgeway, Suite 721
                                        26   Dublin, OH 43017                                Sausalito, CA 94965
                                             Office: (614) 533-3125                          Office: (415) 227-3585
                                        27   Email: rob.speeney@cardinalhealth.com           Email: rzadek@buchalter.com

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                                    Case 2:16-bk-17463-ER         Doc 550 Filed 11/28/16 Entered 11/28/16 12:16:27            Desc
                                                                   Main Document    Page 31 of 31


                                         1    SERVICE LIST (cont’d)
                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3    Jeffrey Golden (NEF)                           Andrew H. Sherman (NEF)
                                              Lobel Weiland Golden & Friedman LLP            Sills Cummis & Gross, P.C.
                                         4    650 Town Center Drive, Suite 950               The Legal Center
                                              Costa Mesa, CA 92626                           One Riverfront Plaza
                                         5    Office: (714) 966-1000                         Newark, NJ 07102
                                              Fax: (714) 966-1002                            Office: (973) 643-6982
                                         6    Email: jgolden@wgllp.com                       Fax: (973) 643-6500
                                                                                             Email asherman@sillscummis.com
                                         7
                                              Anthony R. Bisconti (NEF)
                                         8    Steven Jay Katzman
                                              Bienert, Miller & Katzman, PLC
                                         9    903 Calle Amanecer, Suite 350
                                              San Clemente, CA 92672
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10    Office: (949) 369-3700
 LOS ANGELES , CALIFORNIA 90017-5704




                                              Fax: (949) 369-3701
                                        11
         DENTONS US LLP




                                        12
            (213) 623-9300




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